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                                  KP-0445
                              
                        
          
        
      
    
  

  

  
    
      KP-0445
              Ken Paxton
                  
        Categories
                        
Counties and County Commissioners Courts
              , 
County Officers and Employees - General
              , 
Courts and Judges
              , 
Justice
              , 
Elections
              , 
Peace Officers
              , 
Sheriffs and Constables
        
      
            
                  Summary
                      Considering whether a constable’s office is a law enforcement agency subject to application of Local Government Code chapter 120
      
                          
            Opinion File
                         kp-0445.pdf 

      
          
                
        
      
    

          
        Related Requests
        
  
  
  

  
  
  

        

  
    RQ-0505-KP

      
  
                April 11, 2023

      
  
      
      
        Request PDF
                     RQ0505KP.pdf 

      
      
    
  



  
  

  
  

  


      
      


  
  


    
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            PO Box 12548Austin, TX 78711-2548
          
        

      
      

        
          
                    
    
      
              
                              
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